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        Additional Character Letters
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The Honorable Kim R Gibson
United States District Court
US Courthouse
208 Penn Traffic Building
219 Washington Street
Johnstown PA 15901

Dear Judge Gibson,

        I am writing to you today because I understand the seriousness of the charges that have
been brought against my good friend Robert Paltrow. I have known Mr. Paltrow or as I refer to
him as Bob, for 60 years. We first met at the beginning of junior high school and our friendship
has continued from when we graduations from high school, college through Bob' wedding to a
women who also grew up with us in the same town. I experience the joy of Bob and is wife
having 4 children and seeing their growth and development and the tragedy of the loss of his one
son after his graduation from college. Bob has also in the last 10 years lost his brother, sister and
his dad. The losses were only bearable because of the closeness of the Paltrow family. Bob has
always maintained a close and loving relationship with his remaining three daughters and his 8
grandchildren. Many the time I have seen Bob put his arm around one of his children or
grandchildren and have a heart to heart talk, imparting his experience and knowledge. The
children and grandchildren love Bob and spend a great amount of time being with him and
enjoying his company. Bob and I share birthdays that are only a few days apart, and when we
turned 65 and 70 we shared a common birthday party where we brought together all our families,
sons, daughters, grandchildren. The parties were a an indication of our loving relationships with
our families and our love for each other.

        We have had no business relationship over the years. My business is centered on real
estate development. We both have spent many years developing and working at our respective
businesses. I know that Bob' business is located in a community in Pennsylvania that until
recently was very depressed. Bob has maintained his business in good time and bad, to give
employment to a vast number of people in that community. Bob has always provided health care
to his workers and holiday pay. Bob has promoted people to higher positions from within the
company. Bob has provided assistance to the local churches and community groups.

        I know personally from talking to Bob, how truly sorry and remorseful he is that he has
subjected his family to this painful experience. They are hoping that the court will understand
that removing him from their daily lives will leave a real void in their lives.

       Thank you for your consideration and time.


                                              Irwin Ackerman
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Honorable Kim R. Gibson                                                            12/1/2014
United States District Court
U.S. Courthouse
208 Penn Traffic Building
319 Washington Street
Johnstown, PA 15901

Dear Judge Gibson,

   Bob Paltrow has confided in me that he is in trouble and there are charges against him that
might cause him jail time. I have known Bobby for over sixty-five years. Our fathers
were friends before we were born. Growing up and all the way through college he was an
exemplary student and the type of friend and son, that as parents we all wish for.

   I went to American and George Washington Universities and Bobby to Cornell. I started as
an architect major in a 3/2 year program with Duke University but graduated AU with a business
and economics degree. Like all of us after college we started our careers working different jobs
until we found our callings. I had a successful career in the women’s clothing business, both in
New York and Los Angeles. During my career and up to today I’ve been involved with the local
colleges in mentoring and internship programs. This February I will join the board of San Diego
State University. I have belonged to charitable and inner city organizations and continue to
do mentoring and charity work.

   Bobby was married young and a young father. From the very beginning he has been a great
family man, father and friend. One of his best attributes is how he takes care of his family,
employees and friends. Even after losing his teenage son to cancer he never stopped
caring and helping those around him.

   Bobby owned a direct mail company and women’s clothing business. I had the opportunity to
work with him in the women’s clothing business in Tijuana, Mexico and followed his direct mail
business in Pennsylvania. His relationship with his employees was excellent. Making sure that
working conditions, benefits and keeping them working even when times dictated layoffs.
This showed the type of person he truly is, compassionate, understanding and hard working.

  I believe Bobby has shown remorse for his actions and has paid all back taxes and penalties.
He has sold most all of his material possessions and will have to live a modest life from here on.

   I believe there is much he can do for society then being incarcerated.


                               Sincerely,

                                      Tony Podell
